Case 8:17-cv-00119-MSS-TGW Document 12 Filed 03/08/17 Page 1 of 3 PageID 72



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


ROBERT TERWILLIGER,                                      CASE NO.: 8:17-cv-119-T-35TGW

      Plaintiff,

vs.

CAPITAL ONE BANK (USA), N.A.,

     Defendant.
___________________________________/

                              JOINT NOTICE OF SETTLEMENT

TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF

RECORD:

        PLEASE TAKE NOTICE that Plaintiff and the Defendant have reached a settlement in the

above-referenced case. A formal settlement agreement will be circulated between parties for

review and approval. Once all the appropriate signatures have been obtained, an executed copy of

the Stipulation of Dismissal of the entire action will be filed.


IT IS SO STIPULATED.


        Dated this 8th day of March, 2017.




29305678 v1
Case 8:17-cv-00119-MSS-TGW Document 12 Filed 03/08/17 Page 2 of 3 PageID 73
                                              Robert Terwilliger v. Capital One Bank (USA), N.A.
                                                                            8:17-cv-119-T-35TGW




                                                 Respectfully Submitted,


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                                                 One of the attorneys for Capital One Bank
                                                 (USA), N.A.



                              CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that on March 8, 2017, a true and correct copy of the foregoing was
filed via the CM/ECF system, which will send notice of electronic filing to the following:

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                                             2
29305678 v1
Case 8:17-cv-00119-MSS-TGW Document 12 Filed 03/08/17 Page 3 of 3 PageID 74
                                     Robert Terwilliger v. Capital One Bank (USA), N.A.
                                                                   8:17-cv-119-T-35TGW

                                  /s/ Ryan C. Torrens, Esq.
                                  RYAN C. TORRENS, ESQ.




                                     3
29305678 v1
